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6
     Attorneys for Defendant
7    MOHAMMED ABDUL QAYUUM
8
9                         UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11   UNITED STATES OF AMERICA,               CASE NO.: 18-CR-4683-GPC-3
12                      Plaintiff,           Hon. Gonzalo P. Curiel
13                                           Date: December 7, 2018
           v.                                Time: 10:30 a.m.
14   MOHAMMED ABDUL QAYYUM,                  NOTICE OF MOTIONS AND
15                                           MOTIONS TO:
                        Defendant.
16                                           1) COMPEL DISCOVERY/PRESERVE
                                                EVIDENCE
17                                           2) PRESERVE AND INSPECT
                                                EVIDENCE
18                                           3) GRANT LEAVE TO FILE
                                                FURTHER MOTIONS
19
20   TO: ADAM BRAVERMAN, UNITED STATES ATTORNEY, AND
         MELANIE PIERSON & ROBERT CIAFFA, ASSISTANT UNITED
21       STATES ATTORNEYS:
22         PLEASE TAKE NOTICE that on December 7, 2018, at 10:30 a.m., or as soon
23   thereafter as counsel may be heard, Defendant, Mohammed Abdul Qayyum, through
24   his attorneys, Bienert, Miller & Katzman, PLC, will ask this Court to enter an order
25   granting the following motions.
26   ///
27   ///
28   ///
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1                                         MOTIONS
2          Defendant, Mohammed Abdul Qayyum, through his attorneys, Bienert, Miller
3    & Katzman, PLC, pursuant to the United States Constitution, the Federal Rules of
4    Criminal Procedure, and all other applicable statutes, case law and local rules, moves
5    this Court for an order to:
6                 (1)    compel discovery/preserve evidence;
7                 (2)    preserve and inspect evidence;
8                 (3)    grant leave to file further motions.
9          These motions are based upon the attached statement of facts and
10   memorandum of points and authorities, and any and all other materials that may come
11   to this Court’s attention at or before the hearing on these motions
12                                          Respectfully submitted,
13
      Dated: November 20, 2018              s/ Whitney Z. Bernstein
14                                          WHITNEY Z. BERNSTEIN
                                            Bienert, Miller & Katzman, PLC
15                                          Attorneys for Defendant
                                            MOHAMMED ABDUL QAYYUM
16                                          Email: wbernstein@bmkattorneys.com
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                                                2                          18-CR-4683-GPC-3
                                      NOTICE OF MOTIONS
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1                              CERTIFICATE OF SERVICE
2          Counsel for the Defendant certifies that the foregoing pleading has been
3    electronically served on the following parties by virtue of their registration with the
4    CM/ECF system:
5                                     Melanie K. Pierson
6                                  Assistant U.S. Attorney
                                  melanie.pierson@usdoj.gov
7
8                                        Robert Ciaffa
                                    Assistant U.S. Attorney
9                                   robert.ciaffa@usdoj.gov
10
                                            Respectfully submitted,
11
12    Dated: November 20, 2018              s/ Whitney Z. Bernstein
                                            WHITNEY Z. BERNSTEIN
13                                          Bienert, Miller & Katzman, PLC
                                            Attorneys for Defendant
14                                          MOHAMMED ABDUL QAYYUM
                                            Email: wbernstein@bmkattorneys.com
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                                      NOTICE OF MOTIONS
